   Case 2:10-md-02179-CJB-DPC Document 6930-21 Filed 07/18/12 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                  MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                  SECTION: J
                                               ]
                                               ]                  Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                  Mag. Judge Wilkinson
                                               ]

                     SWORN DECLARATION OF GREGORY WEAVER

         Pursuant to 28 U. S. C. § 1746 Gregory Weaver declares the following:

         1.      “My name is Gregory Weaver. The facts contained in this declaration are within

my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from August

2010 to April 2012. I worked as an environmental observer in Port Fourchon from August 2010

until late December 2010 or early January 2011. For the remainder of my employment, I worked

in field documentation.

         3.      As an environmental observer, it was my job to make sure cleanup crews

followed environmental protection guidelines that were required by O’Brien’s. I also operated a

trimble device, which is a rugged hand-held field computer that we used to photograph and

document what was happening at the cleanup sites.

         4.      O’Brien’s treated me as an independent contractor from the beginning of my

employment until the first week of January, 2011, when O’Brien’s reclassified me as an

employee.

         5.      Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”



                                                  -1-
                                                                                       Ex. 21
   Case 2:10-md-02179-CJB-DPC Document 6930-21 Filed 07/18/12 Page 2 of 5




       6.       Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Spill Workers’ compensation, set our schedules, and directed our work on a daily basis.

                                             Hours Worked

       7.       During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.

       8.       The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

       9.       Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week.

                                               Pay

       10.      When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. The agreement I signed when I was hired

states I would be paid “$500 per day.”

       11.      From the beginning of my employment with O’Brien’s until I was reclassified as

an employee, I was paid $500 per day. My pay did not increase if I worked more than my

scheduled hours.

       12.      O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                             Control

       13.      O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because Jennifer Henderson, my supervisor, could hire and fire employees. I was hired by




                                                -2-
   Case 2:10-md-02179-CJB-DPC Document 6930-21 Filed 07/18/12 Page 3 of 5




O’Brien’s during a short phone interview with John McKue on a Friday. He told me to report to

work at 7 a.m. on Monday morning. When I arrived, O’Brien’s provided me with hiring

documents and employment policies.

       14.      Henderson was my supervisor during the time I worked as an environmental

observer .

       15.      O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, I had mandatory daily meetings or phone

conferences with Henderson. In these meetings, Henderson gave me and other Spill Workers

instructions regarding our daily tasks and job performance. When there were problems I could

not resolve on my own, I went to Henderson for help.

       16.      O’Brien’s required me to deliver daily reports to Henderson every evening.

O’Brien’s used our reports to monitor the beach cleanup work and plan our assignments for the

next day.

       17.      O’Brien’s gave daily task lists to me and the Spill Workers. These tasks were

usually communicated verbally and through email by Henderson. When there was a problem

with my work, Henderson required me to make corrections according to her instructions.

       18.      O’Brien’s required me and the other Spill Workers to scan or hand over our

badges upon each entry and departure from certain staging areas and other work sites and boats.

These badges said “O’Brien’s” on them. We were required to always display them in restricted

areas so they would always be visible to the guards at the facilities.

       19.      O’Brien’s required me and the other Spill Workers to obtain approval for time off.

       20.      O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.




                                                 -3-
   Case 2:10-md-02179-CJB-DPC Document 6930-21 Filed 07/18/12 Page 4 of 5




        21.    O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        22.    O’Brien’s set my and other Spill Workers’ working schedules, which typically

required minimum shifts of 12 hours or longer. We were not allowed to set our own schedules.

        23.    The Spill Workers and I were not allowed to hire employees to help us with our

work.

        24.    O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment.

        24.    Around December 2010 or January 2011, I received a letter from O’Brien’s

stating I and the other Spill Workers were going to be reclassified as employees. From that point

on, O’Brien’s classified us as employees.

        25.    Towards the end of my employment, Rodney Verret, an O’Brien’s manager, told

me I was being let go. In demobilization, my O’Brien’s access badge was deactivated. After

being demobilized, I returned home because I no longer had work or lodging in Port Fourchon.

                                            Investment

        26.    The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, O’Brien’s provided us with the equipment we used, including tools,

ATVs, office equipment, trimbles, hard hats, safety glasses, gloves, rubber boots, tyvek suits, T-




                                                -4-
Case 2:10-md-02179-CJB-DPC Document 6930-21 Filed 07/18/12 Page 5 of 5
